948 F.2d 1283
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.David Keith DEESE, Defendant-Appellant.
    No. 91-7616.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 13, 1991.Decided Nov. 19, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Fayetteville.   Malcolm J. Howard, District Judge.  (CR-88-54;  CA-91-8)
      David Keith Deese, appellant pro se.
      William Arthur Webb, Assistant United States Attorney, Raleigh, N.C., for appellee.
      E.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, MURNAGHAN and SPROUSE, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      David Keith Deese appeals from the district court's order refusing relief under 28 U.S.C. § 2255.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   United States v. Deese, CR-88-54;  CA-91-8 (E.D.N.C. Apr. 24, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    